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                                   STATEMENT OF FACTS
        1.      Your affiant, Ronald A. Hornback, Jr., is a Federal Bureau of Investigation Special
Agent assigned to the Indianapolis Field Office and have been so employed since August of 2014.
I am currently assigned to a squad investigating matters related to domestic terrorism in Southern
Indiana. Previously, I was assigned to the FBI’s Safe Streets Task Force and investigated federal
matters related to violent crimes. I have completed training and gained experience in interviewing
and interrogation techniques, arrest procedures, search warrant applications, the execution of
searches and seizures, and various other criminal laws and procedures. I have lead investigations
related to violent crimes and domestic terrorism. Moreover, I have experience in handling criminal
investigations related to the U.S. Capitol on January 6, 2021.

        2.     Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a FBI Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

                                           Background

        3.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       4.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        5.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

       6.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
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windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       7.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        8.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                             Identification of CURTIS LOGAN TATE

         9.    On January 8, 2021, the FBI received information from a tipster that CURTIS
LOGAN TATE (TATE) had been in the area of the United States Capitol on January 6, 2021. The
tipster suspected that TATE had entered the Capitol based on TATE’s social media posts. The
tipster provided a video and several still images to the FBI. According to the tipster, the still images
depicted TATE standing at the Washington Monument on January 6 with a known associate,
Justen Grater (GRATER). The video consisted of a collage of short videos approximately 54
seconds in duration, which had been posted to a social media account displaying the account
username “tate.logan91” and, according to the tipster, showed TATE’s activities at the Capitol on
January 6. The video also included footage of rioters inside the Upper West Terrace Tunnel
(TUNNEL) located on the west side of the Capitol.

       10.     Based on over two years of investigative efforts, including gathering voluminous
amounts of videos and still image evidence, and conducting numerous interviews, your affiant
knows the TUNNEL is considered one of the most violent areas at the Capitol on January 6. There
were numerous assaults on federal law enforcement officers in and around the TUNNEL, and there
has been significant arrests associated with the individuals identified inside the TUNNEL.

       11.     On or about January 13, 2021, the FBI began an investigation in order to determine
if TATE was the individual referenced in the video and still images provided by the tipster and, if
so, whether he participated in any illegal activity on January 6, 2021.

        12.    On January 13, 2021, TATE was interviewed by the FBI at his residence in
Clarksville, Indiana. Your affiant was present for this interview and personally interacted with
TATE. I was able to confirm TATE was the same individual depicted in the video and still images
provided by the tipster. TATE admitted that he had been at the Capitol in Washington, D.C. on
January 6. TATE confirmed that he posted videos to his personal Instagram account and deleted
some. TATE was not shown the information provided by the tipster; however, TATE did admit to
wearing clothing described to him by the interviewing agents, including a tactical style vest, and
to carrying a metal baton.

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        13.    TATE advised agents that he and GRATER drove to Washington, D.C., a few days
prior to January 6. According to TATE, on January 6, TATE arrived in the area of the Ellipse
around 11:00 a.m. and heard speeches by former President Trump and others. TATE and GRATER
then marched with others to the Capitol.

        14.    During the interview, TATE repeatedly expressed disapproval of the violence that
occurred on January 6. He claimed he never entered the Capitol building. TATE mentioned that
he observed a broken window near the entry to the building, but he claimed he did not see anyone
go inside. TATE advised agents that he would tell the FBI if he knew of someone specifically who
went into the building.

       15.    TATE admitted to using his cell phone on January 6 and that he captured at least
one image and one video of the attack on the Capitol.

        16.     Agents admonished TATE that lying to a federal agent was a crime to which TATE
replied that he did not try to enter the Capitol building and had not committed any acts of violence
or vandalism. TATE said there was “nothing that would compel [him] to do something like
vandalize a building, hurt anybody, or try to break in a building.” TATE also stated that he did not
“agree with them destroying shit, breaking shit, [or] destroying our historic house.” TATE stated
that he did not regret going to the Capitol on January 6 but denied engaging in any illegal conduct.
TATE advised that he and GRATER returned to their hotel room at approximately 6:00 p.m. and
returned to Indiana on the following day.

       17.    On or about January 20, 2021, database checks were completed for TATE and the
FBI identified a telephone account xxx-xxx-1405 to be associated with TATE. According to
records obtained by a search warrant from Google, a mobile device associated with the
aforementioned telephone account was present at the U.S. Capitol on January 6, 2021.1

       18.     As more particularly described below, since TATE’s interview in January of 2021,
the FBI has obtained additional evidence, including additional online tips, facial recognition
analysis, videos and images from open-source queries, as well as interviews of officer victims,
which collectively demonstrate that TATE assaulted several law enforcement officers, destroyed
property, and interfered with federal law enforcement officers during a civil disorder on January 6.
Additionally, TATE lied to FBI agents when questioned about his actions on January 6.

       19.      A review of open-source video, body worn camera (BWC) video from Metropolitan
Police Department (MPD) officers, closed-circuit video (CCV) from the U.S. Capitol building of
the events of January 6, revealed TATE was present in various locations in Washington, D.C., and
in the restricted area of the U.S. Capitol grounds (see Images 3-28 below), including in the

1
 Google estimates device location using sources including GPS data and information about nearby Wi-Fi
access points and Bluetooth beacons. This location data varies in its accuracy, depending on the source(s)
of the data. As a result, Google assigns a “maps display radius” for each location data point. Thus, where
Google estimates that its location data is accurate to within 10 meters, Google assigns a “maps display
radius” of 10 meters to the location data point. Finally, Google reports that its “maps display radius”
reflects the actual location of the covered device approximately 68% of the time.

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TUNNEL. TATE is shown wearing various clothing items, including a black jacket with the brand
“ARIAT” displayed on the back, green tactical pants, green tactical vest, black knit cap, and black
scarf. Also shown is TATE’s tattoo of a navigation compass on his right hand. At various times,
TATE is shown brandishing a metal baton and assaulting police officers with the weapon.

       20.     On January 6, TATE is shown in publicly available video present in Washington
D.C., attending the “Stop the Steal” rally (see Image 1). TATE was standing next to GRATER
with the Washington Monument behind them.




                          Image 1 – TATE near Washington Monument
        21.     Around that same time, TATE is also shown in a publicly available social media
post attributed to an Instagram account with the username “Justen Grater” (see Image 2). TATE
and GRATER are shown in Washington, D.C., with the Washington Monument in the background.
TATE was wearing a scarf, a tactical vest, black cap, and black coat. The image includes the tagged
Instagram handle, “TATE.LOGAN91,” which was associated with TATE.




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                  Image 2 – TATE and GRATER near Washington Monument
                           with Instagram tag “TATE.LOGAN91”
       22.     At approximately 2:05 p.m., TATE is shown in BWC videos from MPD
Officer G.N. and MPD Officer J.G. near the Lower West Terrace of the Capitol grounds. In these
videos, TATE used a metal baton to strike Officer G.N. in the hand (see Image 3). In response,
Officer J.G. sprayed TATE with pepper spray and TATE retreated. After the assault, Officer G.N.
can be heard warning another officer that TATE was wielding a baton. In the BWC videos, TATE
was wearing a black jacket, green tactical vest, green pants, and black knit cap. The tattoo on
TATE’s right hand is shown in Officer J.G.’s BWC video.




                   Image 3 –TATE assaulting Officer G.N. with metal baton

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        23.    On March 24, 2023, Officer G.N. was interviewed by the FBI. Officer G.N.
confirmed that he was employed as a police officer with MPD and was working at the Capitol on
January 6. Officer G.N. was shown still images from his BWC video and he recalled the incident
where he was struck with a metal baton. Officer G.N. identified the individual who responsible for
assaulting him and known by the FBI to be TATE. After the assault, Officer G.N. recalled telling
another officer that the individual identified as TATE had hit him with a metal baton.

        24.    Also, on March 24, 2023, Officer J.G. was interviewed by the FBI. Officer J.G.
confirmed that he was employed as a police officer with MPD and was working at the Capitol on
January 6. Officer J.G. was shown still images from his BWC video and he recalled the incident
where another officer was assaulted by the baton-wielding subject. Officer J.G. identified the
subject known by the FBI to be TATE. Officer J.G. recounted deploying pepper spray at TATE to
create distance between TATE and the officer who had been attacked, and to end the threat of
violence by TATE.

       25.     On January 6, TATE is shown in publicly available video near the Lower West
Terrace (see Image 4). TATE was standing with a large group of individuals moving towards the
Capitol building. In the video, TATE yelled, “Keep going!” TATE was wearing a black jacket
with the brand of “ARIAT” displayed on the back, but he was no longer wearing a black knit cap.




                           Image 4 – TATE near Lower West Terrace
         26.    The FBI compared the above publicly available footage to the TATE’s Instagram
videos, which had been provided by the tipster. Agents noted that the videos depicted the same
approximate time and location. As shown below in Image 5, TATE’s first uploaded video on
Instagram showed the Lower West Terrace and inauguration scaffolding with the caption: “Before
the first breach.”




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                    Image 5 – TATE’s Instagram video showing Lower West Terrace
        27.    As shown below in Image 6, TATE uploaded a second video of himself near the
Lower West Terrace holding a metal baton, which appears to the same baton used to strike Officer
G.N. The post included the caption: “POST 1ST MACING.” TATE is shown wearing clothing as
previously described, including a green tactical vest. During the video, TATE yelled, “We’re
tearing this motherfucker down!” Based on the caption, as well as approximate time and location
of the video, the video appears likely to have been created by TATE after he assaulted Officer
G.N. with the baton and was pepper sprayed by Officer J.G.




                   Image 6 – TATE’s (yellow) Instagram post with metal baton (red)
       28.     As shown below in Image 7, TATE uploaded a third video of himself standing near
the Lower West Terrace with the caption: “POST 2ND TEAR GAS.” TATE is shown displaying
the metal baton and wearing a green tactical vest, as previously described. During the video, TATE

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yelled, “Push forward! Our house!” Based on the caption, as well as the approximate time and
location, TATE appears to have likely been exposed to tear gas that was deployed by police
officers on the Lower West Terrace to disperse the crowd.




                    Image 7 – TATE’s Instagram post showing Lower West Terrace
        29.   At approximately 2:43 p.m., TATE is shown in Capitol CCV outside the entrance
to the TUNNEL leading into the Capitol building (see Image 8). TATE arrived at the TUNNEL
minutes after the steps and entrance to the TUNNEL were first breached. At approximately
2:44 p.m., TATE entered the TUNNEL closely behind the initial group of rioters who had entered.
TATE is shown wearing similar clothing as previously described, as well as a cloth face covering,
and brandishing the metal baton.




                    Image 8 – TATE (yellow) brandishing metal baton (red)
        30.    Around that same time, TATE is shown in publicly available video near the
entrance to the TUNNEL. A still image from that video (see Image 9), shows a close-up of the
tattoo on TATE’s right hand. Your affiant notes that this still image was used by the FBI as the

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wanted photograph for “Suspect #119 – AFO.” The FBI knows that Suspect #119 is TATE based
on personal interactions with TATE during the previously mentioned FBI interview of TATE.




                     Image 9 – TATE (yellow) with close-up of tattoo (blue)
        31.    TATE is shown on Capitol CCV inside the TUNNEL holding his cell phone above
his head, consistent with using the phone to record video. Your affiant compared the footage with
a fourth video uploaded to TATE’s Instagram account and noted that the videos depicted the same
approximate time and location. As shown in Image 10, TATE shared video on Instagram of the
inside of the TUNNEL with the caption: “FUCK ALL THESE GOVERNMENT OFFICIALS.”




                     Image 10 – TATE’s Instagram post showing TUNNEL


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       32.     At approximately 2:53 p.m., TATE is shown on Capitol CCV and on publicly
available video waving others outside to enter the TUNNEL (see Image 11).




               Image 11 – TATE (yellow) waiving to others to enter the TUNNEL
        33.     At approximately 2:57 p.m., TATE is shown inside the TUNNEL on Capitol CCV
and on publicly available video brandishing the metal baton above his head and charging towards
the line of police officers protecting the entrance to the Capitol building (see Image 12).




                   Image 12 – TATE (yellow) brandishing metal baton (red)
        34.     At approximately 2:58 p.m., TATE is shown repeatedly striking U.S. Capitol Police
(USCP) Sargent A.G. in the helmet with the metal baton. In response, Officer W.B. sprayed TATE
with pepper spray and TATE retreated. In a publicly available video, the tattoo on TATE’s right
hand is visible during the attack (see Image 13).

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            Image 13 – TATE (yellow) attacking Officer A.G. with metal baton (red),
                         with pepper spray (orange) and tattoo (blue)
        35.     On March 13, 2023, the FBI interviewed Sargent A.G., who confirmed that he was
employed as a police officer with USCP and was working at the Capitol on January 6. Sargent
A.G. was shown still images from Capitol CCV and publicly available videos, and he recalled the
subject who assaulted him by striking him in the head with a metal baton. Sargent A.G. did not
know TATE’s name when the incident occurred, but Sargent A.G. had seen open-source records
online identifying TATE as the subject. Sargent A.G. described TATE as younger looking, bald,
and aggressive. Sargent A.G. recalled TATE standing two to three people in front of him in the
TUNNEL. Sargent A.G. observed TATE reach over others while brandishing the metal baton and
repeatedly strike him in the head. Sargent A.G. did not remember the exact number of strikes, but
he did recall feeling pain as result of the strikes. One strike caused Sargent A.G.’s clear face
covering on his riot helmet to snap up, exposing his face. Sargent A.G. believed he could have
been killed by the strikes dealt by TATE if he had not been wearing a metal riot helmet.

        36.     On April 13, 2023, the FBI interviewed Officer W.B., who confirmed that he was
employed as a police officer, and he was working at the Capitol on January 6. Officer W.B. recalled
observing TATE strike Sargent A.G. in the head repeatedly with a metal baton. Officer W.B.
recalled deploying pepper spray at TATE after the assault to deter TATE from attacking police
officers again.

        37.     On January 6, at approximately 2:58 p.m., TATE is shown on Capitol CCV and on
publicly available video departing the TUNNEL. As shown in Image 14, orange residue from
pepper spray deployed by Officer W.B. remained on TATE’s face and head. TATE is shown in
publicly available video shortly thereafter descending the steps to the TUNNEL and experiencing
the effects of pepper spray.




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           Image 14 – TATE exiting TUNNEL with orange pepper spray on his head
         38.     At approximately 4:12 p.m., TATE is shown in publicly available video returning
to the steps of the TUNNEL (see Image 15). TATE was wearing a black jacket with white lettering
similar to the clothing previously described. TATE was also wearing the black knit cap again.




                         Image 15 – TATE returning to TUNNEL steps
       39.     At approximately 4:28 p.m., TATE is shown in multiple publicly available videos
throwing a black speaker box and breaking a window located to the left of the TUNNEL entrance
(see Image 16).



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         Image 16 – TATE (yellow) throwing speaker box (red) and breaking window
        40.    At approximately 4:31 p.m., TATE is shown in publicly available video throwing
a black speaker box at police officers protecting the entrance to the TUNNEL (see Image 17).




            Image 17 – TATE (yellow) throwing speaker box (red) at police officers
       41.    Contemporaneous BWC video from MPD Officer S.S., who was protecting the
entrance of the TUNNEL, shows the speaker box thrown by TATE strike Officer S.S. (see
Image 18).




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               Image 18 – Speaker box (red) thrown by TATE hitting Officer S.S.
        42.     At approximately 4:32 p.m., TATE is shown in publicly available video throwing
a shoe at police officers protecting the entrance to the TUNNEL (see Image 19).




               Image 19 – TATE (yellow) throwing shoe (red) at police officers
       43.     Contemporaneous BWC video from MPD Officer S.S., who was protecting the
entrance of the TUNNEL, shows the shoe thrown by TATE strike Officer S.S. (see Image 20).




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                   Image 20 – Shoe (red) thrown by TATE hitting Officer S.S.
       44.     On March 24, 2023, Officer S.S. was interviewed by the FBI. Officer S.S.
confirmed that he was employed as a police officer with MPD and was working at the Capitol on
January 6. Officer S.S. was able to review his BWC video and he recalled the incident where he
was struck with the speaker box. Officer S.S. advised that he recounted the speaker box hit him in
the head and, he believes, lead to a concussion.

        45.    On January 6, shortly after the above assaults, TATE is shown in publicly available
video receiving a broken table leg with a protruding screw through a broken window in the Capitol
building. The window was the same window damaged by TATE earlier with the speaker box and
now was completely broken as result of damage caused by TATE and others. Publicly available
video also shows a floor lamp being passed from rioters inside the building through the broken
window to other rioters outside (see Image 21).




                   Image 21 – TATE (yellow) holding broken table leg (red),
                            and floor lamp (blue) passed outside

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       46.     TATE is shown in multiple publicly available videos and photographs taken by a
photojournalist, navigating through the crowd and carrying the broken table leg towards the
entrance to the TUNNEL (see Image 22).




                   Image 22 – TATE (yellow) holding broken table leg (red)
       47.    At approximately 4:34 PM, TATE is shown in publicly available video throwing
the broken table leg at police officers who were protecting the entrance to the TUNNEL (see
Image 23).




          Image 23 – TATE (yellow) throwing broken table leg (red) at police officers
        48.    Contemporaneous Capitol CCV shows the broken table leg that was thrown by
TATE entering the TUNNEL (see Image 24). It is unclear which, if any, police officer was struck
by the broken table leg, and the investigation is ongoing.




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              Image 24 – Broken table leg (red) thrown by TATE entering TUNNEL
        49.     At approximately 4:38 p.m., TATE is shown in publicly available video assisting
others carry a piece of lumber towards the entrance to the TUNNEL.

       50.      At approximately 5:01 p.m., TATE is shown in multiple publicly available videos
throwing a floor lamp at police officers who were protecting the entrance to the TUNNEL (see
Image 25). It is unclear which, if any, police officer was struck by the floor lamp, and investigation
is ongoing.




              Image 25 – TATE (yellow) throwing floor lamp (red) at police officers
        51.    After the above assaults, TATE is shown in publicly available video brandishing a
nightstick in a threatening manner at police officers who were protecting the entrance to the
TUNNEL (see Image 26).



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            Image 26 – TATE (yellow) brandishing nightstick (red) at police officers
       52.     Due to rioters’ threats and acts of violence, police deployed tear gas at the Capitol
grounds in the early evening hours. During that time, TATE was still located on the Lower West
Terrace near the TUNNEL, as depicted in the photo with illuminated exterior Capitol lights (see
Image 27).




                        Image 27 – TATE (yellow) at Lower West Terrace
       53.     On March 2, 2023, USA Today newspaper published a story about January 6 rioters
who had been identified but not yet arrested, wherein TATE had agreed to be interviewed. TATE
acknowledged that he was the individual pictured in FBI photograph Suspect #119 – AFO (see
Image 28, which was included in the news article). TATE admitted that he was at the Capitol on
January 6, but he denied assaulting anyone. TATE was quoted: “I would never hurt an officer.

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I come from a military background. I’m very respectful of our military and police… I know I didn't
hurt anybody… I’m not speaking here bold as brass, because you never know what can happen…
but I’ve never, ever once hurt, or put my hands on an officer… I never did it. So, I’m not going to
live the rest of my life in fear.”




                  Image 28 – TATE in FBI photograph “Suspect #119 – AFO”
                               published in USA Today article
        54.     Based on the foregoing, your affiant submits that there is probable cause to believe
that CURTIS LOGAN TATE violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to
forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in
section 1114 of Title 18 while engaged in or on account of the performance of official duties, while
using a deadly or dangerous weapon. Persons designated within section 1114 of Title 18 include
federal officers such as USCP officers, and include any person assisting an officer or employee of
the United States in the performance of their official duties and where the acts in violation of this
section involve physical contact with the victim and the intent to commit another felony.

        55.      Your affiant submits there is probable cause to believe that CURTIS LOGAN
TATE violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any
act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged
in the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

        56.    Your affiant submits there is probable cause to believe that CURTIS LOGAN
TATE violated 18 U.S.C. § 1361, by willfully injuring or depredating of any property of the United
States with an estimated value of $1,133.

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        57.    Your affiant submits that there is probable cause to believe that CURTIS LOGAN
TATE violated 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; (4) knowingly engages in any act of physical
violence against any person or property in any restricted building or grounds; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        58.     Your affiant submits there is also probable cause to believe that CURTIS LOGAN
TATE violated 40 U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and 40 U.S.C. § 5104(e)(2) (F) which makes it a crime to engage in an act of physical
violence in the Grounds or any of the Capitol Buildings.




                                              _________________________________
                                              RONALD A. HORNBACK, JR.
                                              FEDERAL BUREAU OF INVESTIGATION


       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 15th day of August 2023.




                                              ___________________________________
                                              MOXILA A. UPADHYAYA
                                              U.S. MAGISTRATE JUDGE




                                                 20
